ease 6:14-cv-66553-FPG-JWF Documem 31 Filed 11/30/18 Page 1 of 9

AO l33 (Rev I2/09) Btllol`Costs

UNITBD STATES DISTRICT COURT

for the
Westem District ot`New York

 

 

sERAFtNO cARolNALi §
v. ) Case No.: 14-cv-6558 y
couNTY oF MoNRoE ) ~<w.\'-
)
BILL OF COSTS
Judgment having been entered in the above entitled action on 11/01/201? against Plainliff Se!’afino Cardinali ,
the Clerk is requested to tax the following as costs; DM
Feesof`theClerk ............................. , ....... ........... S__ _____________________________
Fces for service of summons and subpoena ........... , . ,a ...............................
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case ...... 625~24
Fees and disbursements for printing ....................................................
Fees for witnesses (uemr:e on page nw) ................................................... 0'00

Fees for exemplification and the costs of making copies of any materials where the copies are

necessarily obtained for use in the case ..........................................................

Docket fees under 28 U.S.C. 1923 .......................... t ............... , ..........

Costs as shown on Mandate of Court oprpeals .......................... l ............... ________

Compensation of court~appointed experts .................................... § .......... __W__MM
Compensation oi` interpreters and costs of special interpretation services under 28 U.S.C, 1828 ..... _ ___________________
Otlt€t'COSlS(p!easeiremr':e)..........................................._~ ................. _____________________ ___WW___

TOTAL 3 628.24

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories

 

Declaration

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed A copy of this bill has been served on all parties
in the following manner:

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Tnxation of Costs

and included in the judgment.

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Depu.y E`ierr§ Date

 

 

 

 

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AD 133 (Rev lMI'Bl) Btlloi`(.`osts

UNITED STATES DISTRICT CGURT

 

Witness Fees (eomputntion, ch 23 U.S.C. 1321 for statutory fees)

 

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Sectiort 1532-¥, Tifie 23, ¥J.S. Code {eft’eetive September }, 1948) prot*ix!es:
“Sec. i924. Verification ot`bilt nt`costs."

“Bet`ore any biii of` costs is trn;cd, the party claiming any item utmost or disbursement shall attnch thereto an amdavit, made by himscil'or by
his only authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
that tire services for which lees have been charged were actually and necessarily perfonnect.”

See also Sectitm 19le of Titlc 28, which reads in part as follows
“A bill ol` costs shall be filed in the case nnd, upon allowance included in thejudgment or decree."

The Fedcrnl Rules of Civil Procednre contain the following provisions:
RUI,l-Z 54(¢1)(1)

Costs Other than Attomcys’ !~`ces.
Unless a federal stotute, these mlcs, or n court order provich other\vise, costs »-” other than attnmey‘s fees -- should be allowed to the

prevailing pnrty. But costs against the Unitcd Statcs., its oi`l`tcers, and its agencies may be imposed only to the extent allowed by iatv. The clerk
may tax costs on 34 day‘s notice On motion served within the next 7 days, tire conn may review the clerk's action

RULE 6

(d} Arkiitionai 'l“imc ritter Cer'tcin Kinds ol"Sert'icet

When a party may or must act within n specified time after service and service is nude under Ru!e$(b){l){€}, (D), (E}, or (F}, 3 days are
added nder tire period would otherwise expire under Rnle S{a}.

RULE SB{e)

Cost or I-`ee Anerds:

Grdinarily, tire entry ol` judgment may not be deinyed, nor the time for appeal extended in order to tax costs or award feca But if a
timely motion l’nr attorneys fees is made under Rulc 54(¢1)(2}, the court may act before n notice ot‘ appeal has been fich and become
effective to order that the motion have the same effect under Fetleral Rnlr: ol'Appellnte Procedure 4{:1)(4) ns n timely motion under Role 59r

 

 

 

 

Case 6:14-Cv-06558-FPG-.]WF Document 31 Filed 11/30/18 Pa_ge 3 of 9

UN¥TED STATES DISTRICT COURT
WESTERN DBTRICT GF NEW `¥QRK

    
  
   
   

SERAFINO CARDINALI,

DEFENDANT’S lTEMlZATlON
DF COSTS

Plaintiffj

vi

COUNTY OF MONR(IE, Case No.: 14-€\!»6558

Defendant.

  

Fees For Printed Or Electronically Recorded
Transcripts Nei:essarily Obtained For Use ln The Case

 

Date of Testimony Witness Amuunt

 

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Depositiun; and irving G. Murph Depositinn
12.6.16 ]ason R, Kennedy Deposition 150.00
1*25.17 Serafino Cardinaii Deposition 197.80
'l'otal $628.24

 

 

 

 

 

 

 

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